Case 1:22-cv-03369-RDM Document 8 Filed 11/08/22 Page 1 of 4
         Case 1:22-cv-03369-RDM Document 8 Filed 11/08/22 Page 2 of 4




                                                          District of Columbia c/o Office of the Mayor of the District
                                                          of Columbia
                          November 3 2022




                   On November 4, 2022, I served the summons and complaint on Defendant District
                   Of Columbia c/o Office of the Mayor of the District of Columbia by emailing them to
                   chad.copeland@dc.gov, stephanie.litos@dc.gov, and tonia.robinson@dc.gov, in
                   accordance with the DC Office of the Attorney General Office Order 2020-10 (April
                   1, 2020), , https://oag.dc.gov/sites/default/files/2020-04/2020-10-OAG-OFFICE-ORDER-Temp-Service-Process.pdf.
                   This Order provides that, during the pandemic, the District will accept service when the required documents are
                   emailed to the 3 email addresses named above. Tonia Robinson and Chad Copeland accepted service via email on
                   November 4, 2022.




November 4, 2022                                         /s/ Priyanka Shetty


                                                         Priyanka Shetty, Investigative Fellow (Investigator)




                                                    1601 Connecticut Ave, Suite 800, Washington DC 20009
Case 1:22-cv-03369-RDM Document 8 Filed 11/08/22 Page 3 of 4
        Case 1:22-cv-03369-RDM Document 8 Filed 11/08/22 Page 4 of 4




                                                      District of Columbia, c/o of the Office of the Attorney General for
                                                      the District of Columbia
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November 4, 2022                                     /s/ Priyanka Shetty


                                                  Priyanka Shetty, Investigative Fellow (Investigator)




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